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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE

 7
          CLAUDE BROWN,
 8                               Plaintiff,
                                                              C16-1340 TSZ
 9            v.
                                                              VERDICT
10        KING COUNTY,
11                               Defendant.

12
           We, the jury, answer the questions submitted by the Court as follows:
13

14
           Question No. 1
15
           Do you find for Plaintiff on his first claim for discrimination under state law
16
     (the Washington Law Against Discrimination)?
17
           Answer:
18
           as to Plaintiff’s removal from, or the splitting
           of, the Acting Technical Trainer position in
19
           July 2013:                                             ______Yes           X
                                                                                      ______ No
20
           as to Plaintiff’s application for the Rail
           Supervisor in Training position in the
21
           May 2014 recruitment:                                 ______ Yes          X
                                                                                     ______ No
22

23

     VERDICT - 1
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 1         Question No. 2

 2         Do you find for Plaintiff on his second claim for discrimination under federal law

 3 (42 U.S.C. § 1981)?

 4         Answer:

 5         as to Plaintiff’s application for the Rail
           Supervisor in Training position in the
 6         October 2012 recruitment:                            ______Yes             X
                                                                                      ______ No

 7         as to Plaintiff’s removal from, or the splitting
           of, the Acting Technical Trainer position in
 8         July 2013:                                           ______Yes              X
                                                                                       ______ No

 9         as to Plaintiff’s application for the Rail
           Supervisor in Training position in the
10         May 2014 recruitment:                               ______ Yes             X
                                                                                      ______ No

11
           Question No. 3
12
           Do you find for Plaintiff on his third claim for retaliation under state law (the
13
     Washington Law Against Discrimination)?
14
           Answer:
15
           as to Plaintiff’s removal from, or the splitting
16         of, the Acting Technical Trainer position in
           July 2013:                                            X
                                                                ______Yes              ______ No
17
           as to Plaintiff’s application for the Rail
18         Supervisor in Training position in the
           May 2014 recruitment:                                X
                                                               ______ Yes             ______ No
19

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     VERDICT - 2
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 1         Question No. 4

 2         Do you find for Plaintiff on his fourth claim for retaliation under federal law

 3 (42 U.S.C. § 1981)?

 4         Answer:

 5         as to Plaintiff’s application for the Rail
           Supervisor in Training position in the
 6         October 2012 recruitment:                           ______Yes             X
                                                                                     ______ No

 7         as to Plaintiff’s removal from, or the splitting
           of, the Acting Technical Trainer position in
 8         July 2013:                                           X
                                                                ______Yes             ______ No

 9         as to Plaintiff’s application for the Rail
           Supervisor in Training position in the
10         May 2014 recruitment:                              ______ Yes             X
                                                                                     ______ No

11
           If you answered “Yes” to Question Nos. 1, 2, 3, or 4, then proceed to
12
     Question No. 5. If you answered “No” to Question Nos. 1, 2, 3, and 4, then sign and
13
     date the Verdict form.
14

15
           Question No. 5
16
           What damages, if any, do you award to Plaintiff?
17
           Answer:
18

19         Economic Damages              228,952
                                        $__________________
20         Emotional Harm                671,300
                                        $__________________
21

22

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     VERDICT - 3
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 1         If you answered “0” to Question No. 5, then proceed to Question No. 6.

 2 Otherwise, sign and date the Verdict form.

 3

 4         Question No. 6

 5         What nominal damages, if any, do you award to Plaintiff?

 6         Answer:

 7                  NA
                   $_____________

 8

 9

10

11
                        23rd
           DATED this ____ day of June, 2021.
12

13

14

15
                                                   Presiding Juror
16

17
                                                   Signed on behalf of the jury,
18

19

20
                                                   A
                                                   ______________________________
                                                   Thomas S. Zilly
                                                   United States District Judge
21

22

23

     VERDICT - 4
